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                           U.S. District Court
                Southern District of Florida (Ft Lauderdale)
     CRIMINAL DOCKET FOR CASE #: 0:21−mj−06681−AOV All Defendants

    Case title: USA v. Courson                                Date Filed: 12/15/2021

                                                              Date Terminated: 12/20/2021

    Assigned to: Magistrate Judge Alicia O.
    Valle

    Defendant (1)
    Mason Joel Courson                        represented by Jason Wyatt Kreiss
    78637−509                                                Jason W. Kreiss
    YOB 1995 English                                         1824 SE 4th Avenue
    TERMINATED: 12/20/2021                                   Fort Lauderdale, FL 33316
                                                             954−525−1971
                                                             Fax: 525−1978
                                                             Email: jwk@kreisslaw.com
                                                             ATTORNEY TO BE NOTICED
                                                             Designation: Temporary

    Pending Counts                                         Disposition
    None

    Highest Offense Level (Opening)
    None

    Terminated Counts                                      Disposition
    None

    Highest Offense Level (Terminated)
    None

    Complaints                                             Disposition
    18:U.S.C.§111(a)(1)and(b)2
    ASSAULTING, RESISTING, OR
    IMPEDING CERTAIN OFFICERS
    USING A DANGEROUS WEAPON
    18:U.S.C.§231(a)(3)CIVIL DISORDER
    18:U.S.C.§1752(a)(1)ENTERING AND
    REMAINING IN A RESTRICTED
    BUILDING OR GROUNDS



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    Plaintiff
    USA                                          represented by Adam Michael Hapner
                                                                DOJ−USAO
                                                                99 NE 4th Street
                                                                Miami, FL 33132
                                                                786−761−3142
                                                                Email: adam.hapner@usdoj.gov
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED
                                                                Designation: Retained

     Date Filed   #   Page Docket Text
     12/14/2021            Arrest of Mason Joel Courson (at) (Entered: 12/15/2021)
     12/15/2021   1        Magistrate Removal of Superseding Indictment from DISTRICT OF
                           COLUMBIA Case number in the other District 21−CR−035(EGS) as to Mason
                           Joel Courson (1). (at) (Entered: 12/15/2021)
     12/15/2021            Set Hearing as to Mason Joel Courson: Initial Appearance − Rule 5(c)(3)/40 set
                           for 12/15/2021 AT 11:00 AM in Fort Lauderdale Division before FTL Duty
                           Magistrate. (at) (Entered: 12/15/2021)
     12/15/2021   2        NOTICE OF TEMPORARY ATTORNEY APPEARANCE: Jason Wyatt Kreiss
                           appearing for Mason Joel Courson (dd) (Entered: 12/15/2021)
     12/15/2021   3        Minute Entry for proceedings held before Magistrate Judge Alicia O. Valle:
                           Initial Appearance in Rule 5(c)(3)/Rule 40 Proceedings as to Mason Joel
                           Courson held on 12/15/2021. Detention Hearing set for 12/20/2021 10:00 AM in
                           Fort Lauderdale Division before FTL Duty Magistrate. Removal Hearing set for
                           12/20/2021 10:00 AM in Fort Lauderdale Division before FTL Duty Magistrate.
                           (Digital 11:35:54) (dd) (Entered: 12/15/2021)
     12/20/2021   4        WAIVER of Rule 5(c)(3)/Rule 40 Hearing by Mason Joel Courson (dd)
                           (Entered: 12/20/2021)
     12/20/2021   5        Minute Entry for proceedings held before Magistrate Judge Jared M. Strauss:
                           Status re PTD hearing as to Mason Joel Courson held on 12/20/2021. Matter
                           reset to 12/22/21 but defendant waives removal. ( Detention Hearing set for
                           12/22/2021 10:00 AM in Fort Lauderdale Division before FTL Duty
                           Magistrate.). (Digital 9:25:56) (dd) (Entered: 12/20/2021)
     12/22/2021   6        NOTICE of filing character letters by Mason Joel Courson (Attachments: # 1
                           Exhibit, # 2 Exhibit ) (Kreiss, Jason) (Entered: 12/22/2021)
     12/22/2021   7        Minute Order for proceedings held before Magistrate Judge Jared M. Strauss:
                           Detention Hearing as to Mason Joel Courson held on 12/22/2021. Witness FBI
                           McDaniel testified. Cross−examined by defense counsel. Government
                           proceeding by proffer. Defendant charged in eight counts
                           (7,10,11,14,18,19,20,24) Government's Exhibit 1 submitted. Defendant's objects
                           to Exhibit 1. Court allows Exhibit 1 to be admitted. Court heard argument from
                           both sides. Court Orders defendant detained pending trial, remanded to U.S.
                           Marshals custody. Commitment Order signed. Written Order to follow. (Digital


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                        10:00:07−11:28:15) (Signed by Magistrate Judge Jared M. Strauss on
                        12/22/2021). (at) (Entered: 12/22/2021)
     12/22/2021    9    COMMITMENT TO ANOTHER DISTRICT as to Mason Joel Courson.
                        Defendant committed to DISTRICT OF COLUMBIA.. Closing Case for
                        Defendant. (Signed by Magistrate Judge Jared M. Strauss on 12/22/2021). (See
                        attached document for full details). (at) Modified on 12/23/2021 (at). (Entered:
                        12/23/2021)
     12/23/2021    8    CERTIFICATE of Compliance Re Admitted Evidence for exhibit(s): 1 as to
                        Mason Joel Courson by Adam Michael Hapner (Attachments: # 1 Exhibit
                        Images) (Hapner, Adam) (Entered: 12/23/2021)
     12/23/2021   10    DETENTION ORDER as to Mason Joel Courson. (Signed by Magistrate Judge
                        Jared M. Strauss on 12/23/2021). (See attached document for full details). (at)
                        (Entered: 12/23/2021)




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                                                            O c ccx,ov- & t- totoàt-ax
                           UN ITED STATES DISTRICT CO URT
                           FO R THE D ISTR ICT O F CO LUM BIA

                                  Holding a Crim inalTerm

                          G rand Juc Sw orn in on August 11.2:21

       UNITED STATES OF AM ERICA                  CRIM INAL NO.21-CR-e35(EGS)
                V.                                GRAND JURY ORIGINAL

       JEFFREV su o l.,                           VIO LATIO NS:
       PETER FRM cls STAG ER .                    18U.S.C.H 151Xe)(Q,2
       M ICHAEL JOHN LoPATIc sR.,                 (ObstructionofanOMeialProcee ing)
       CLAYTO N RAY M ULLINS,                     18U.S.C.!l11(a)(1)
       JACK w ApE w Hlw o N.                      (M saulting,Resisting,orImpeding
       Locu zAm sBARNHV T.                        Certain Om cen)
       RoNAlm colxoN Mcu EK                       18U.S.C.j231(a)(3)
    .> M ASONJOEL couRsoxv
                         ,ani                     (CivilDisorder)
       JUSTIN zERsEv                              18P.S.C.jj 111(a)(1)and (b),2
                                                  (Auaulting,Raisting,orImpeding
                     Dtfeudanl.                   Certain O m cea Using a Dangerous
                                                  W eaptm)
                                                  18U.S.C.!2111
                                                  lRobbec inaFederalEnehve)
                                                  18U.S.C.j661
                                                  (TheftinaFe eralEaelave)
                                                  18U.S.C.jj111(a)(1)and (b)
                                                  (M saulting,Resisting,orImpeding
                                                  Certain O m cen Using a Dangerous
                                                  W eapon)
                                                  18U.S.C.j!1752(a)(1)and (b)(1)(A)
                                                  (Enteringand RemaininginaRutricted
                                              :   Building orG roundswith a De dly or
                                                  DangerousW e pon)
                                                  18U.S.C.jj1752(a)(2)and (b)(1)(A)
                                                  (Dix rderly and DisruptiveConduetin .
                                                  Re tricted Buildilg orG roundswith a
                                                  Do dly orDangerousW eapon)
                                                  18U.S.C.jj1752(a)(4)and(b)(1)(A)
                                                  (EngaginginPhysiealVioleneeina
                                              :   Re tricted Building or G roundsw ith a
                                                  Du dly orDamgerousW a plm )
                                                  18U.S.C.j 1752(a)(1)
                                                  (Entering and Rem aining in aRetricted
                                                  Building orGrounds)




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                                                         18U.S.C.j1752(a)(2)
                                                         (DlorderlyandDisruptiveCondud ina
                                                         Ratrlcted Building orGrounds)
                                                         18U.S.C.j 1752(a)(4)
                                                    :    (Engagingin Physio lViolepeein a
                                                    :    Ratricte Building orGa unds)
                                                    :    40U.S.C.j51:4(e)(2)(F)
                                                    :    (ViolentEntq andDisorderlyConductin
                                                         sCapitolBuildingorGrouwdg)
                                         l N D IC T M E N T Case:1:21-tr-00035
                                                                 Assigned to:Judge Sullivan,Emm etG.
                                                                 Assign Date:11/17/2021
            n eGrand Jue chargesthat:                            Description:SUPERSEDING INDICTMENT (B)
                                                                 Related Case No:21-cr-00035(EGS)
                                            CO UNT O NE

             On oraboutJanuary 6.2921.within the DistrictofColum bia and elsewhere.R FFREY

      SAROL,PETER FRANCIS STAGEK and M ICHAEL JOHN LOPATIC SW attempted to,
      and did,corruptly obstruct,innuence,and impede an om cialproceeding,thatis,a proceeding

      before Congress.specifkally,Congress'scertiscation ofthe ElectoralCollege vote as R tout in

      theTwelqhAmendmentoftheConstitutionoftheUnitedStatesand3U.S.C.99 15-18.
             (ObstrudionofallOmcialProcee lngand Aidingand Abete g,inviolationofTitle
             l8,UnitedStatesCode,Sectionsl5l2(c)(2)and2)
                                            CO UNT TW O

             On oraboutJanuaq 6,202l.atoraround 2:04 p.m.,within the DistrictofColumbia.

      JEFFREY SABO L,did forcibly assault,O sist,opN se.im pede,intim idate,and interfere with,an

      om cerand employee ofthe United States,and ofany branth ofthe United StatesGovernment

      (includingany memberoftbeuniformedservices).and any person assistingsuchanomcerand
      em ployee,includingbutnotlim ited to M .T.,an om cerfrom the'M etroN litan Police Departm ent.

      whilesuch peaonwasengaged in and on accountofthe performanceofom cialduties,and where




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      theactsinviolationofthissectioninvolvephysicalcontactwiththevictim andtheintenttocommit

      anotherfelony.

            (AA.qaulting,Raisting,orlmpedingCe- in Omcen.in violation ofTitle l#.United
            StatesCode.Section lll(a)(1))
                                           CO UNT TH REE

            On oraboutJanum 6.2021,at or around 2:04 p.m .,within the District of Colum bia,

      G FFREY SA BO L.tom m itk d and attem pted to com m itan actto obstruct,im - de,and interfere
      .




      with a law enforcementom cer lawfully engaged in the lawfuly rformance ofhis/herom cial

      duties,incidentto and during the commission ofacivildisordcrwhich in any way and degxe

      obs% cted.delayed, and adversely aFecyed commexe and the movementof any adicle and
      commodity in commemeandtheconductand y rformanceofany federallyprotected function.

            (CivilDlorder,inviolationofTitlel8.UnitedStatesCode,Section23l(a)(3))
                                            COUNT FOU R

            On orabout January 6, 2021,at or around 2:27 p.m .,w ithin the Disœictof Colum bia,

      JEFFREY SABOL.didforcibly assault,resisqoppose,impede.intimidate,and intedkrewith,an

      om cerand em ployee ofthe United States,and ofany branch ofthe United States Govem m ent

      (includingany memberoftheuniformedservices).andanypersonassistingsuchanomcerand
      employee,whilesuchpersonwasengaged inandonaccountoftheperformanceofom cialduties.

      and where the actsin violation ofthissection involve physicalcontactwith the victim and tbe

      intentto comm itanotherfelony.

             (Aeqaulting,Resi:ting,orImpe ingCertain Omcen.in violationofTitle l8,United
             StatesCode.Section l1l(a)(1))




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                                            COUNT FIVE

             On or aboutJanuary 6,2021,ator around 2:27 p.m .,within the District ofColum bia,

      JEFFQEY SABO L.com mitted and attem pted to comm itan actto obstrucq im pede,and interfere

      w ith a law enforcement om cer Iawfully engaged in the law fulperformance of hin erom cial

      duties,incidentto and during the commission ofacivildisorderwhich in any way and degree

      obstructed,delayed,and adversely affectgd commerce and the movement ofany article and
      comm odity in com m em eand the conductand perfbrm ance ofany federally protected function.

             (CivilDisorder,inviolationofTitleI8,UnitedStatesCode.Section23l(a)(3))
                                             CO UNT SIX

             On or about January 6,2021,ator around 2:33 p.m .,within the District of Colum bia,

      JE/FREY SABOL,committedandattemptedtocommitanacttoobstruct,immde,andinterfere
      with a law enfomementom cerlawfully engaged in the lawfulperformante ofhi#herom cial

      duties,incidentto and during the com m ission ofa civildisorder which in any way and degree

      obstructed. delayed, and adversely affected comm em e and the m ovement of any alicle and '

      commodityin commerceand theconductand performanceofany federallyprotected function.

             (Civilpiqn- er.inviolationofTitlel:,UnitedStatesCode.Section23l(a)(3))




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                                          CO UNT SEVEN

             On or aboutJanuaq 6,202 l,at or around 3:16 p.m .,within the Districtof Colum bia.

      M ASO N JO EL CO URSO N,comm itted and attempted to com mitan actto obstruct.im pede,and

      interfere with a law enforcementom cer lawfully engaged in the lawfulperformance ofhis/her

      om cialduties,incidentto and during thecommission ofa civildisorderwhich in any way and

      degreeobstructed,delayed,and adversely a/ected com merceand them ovem entofany article and

      comm odity in com merce and the conductand performance ofany fkderally protected function.

             (CivilDix rder,inviolationofTitlel8,UnitedStatesCode,Section23l(a)(3))
                                           C O UNT EIG HT

             OnoraboutJanuaq 6,2021,withinthespecialmaritimeandteaitorialjurisdictionofthe
      UnitedSœtes,JEFFQEY SABOL didbyforceandviolencc.andbyintimidation.takeandattempt
      to take from the person orpresence ofanother,thatis.A.W .,an ofEcerfrom theM etropolitan

      Police Depalm ent a thing ofvalue,thatis.a police baton.

             (Robbec in a FederalEnclave.in violation ofTitle l8,United StatesCode,Section
             2lll)
                                            CO UNT NINE
             On oraboutJanuaq 6,2021,atoraround 4:27 p-m.to 4:29 p.m.,within the Districtof

      Columbia,JEFFREY SABOL,CLAYTON RAY M ULLINS,JACK W ADE W HITTON,

      RONALD COLTON M CAREE,and JUSTIN JERSEY,did fomibly assaulq resist,oppose,

      impede,intimidate,interfex with,and iniictbodily inju? on,an omcerand employeeofthe
      United States,and ofany branch ofthe United StatesGovernment(including any memberofthe
      unifonned services),and any person a isting such an omcerand employee.thatis,A.W .,an
      om cerfrom the M etropolitan Police Departm ent,w hile such om ceroremployee wasengaged in

      oron accountofthe perform ance ofom cialduties,and where the acts in violation ofthissection

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      involvephysicalcontactwith thevictim and theintentto commitanotherfelony.

             (InsictingBodilylnjuu onCertainOmcea and AidingandAbe/ing,inviolationof
             Title 18.UnitedStatesCode,Sectionslll(a)(l)and (b),and2)
                                             C O UNT TEN

             On or aboutJanuaû 6.2021,atoraround 4:27 p.m .to 4:29 p.m .,within the Districtof

      Columbia,JEFFREY SABOL,PETER FRANCIS STAGER JACK W ADE W HITTUN,
      LO GA N JAM ES BARNHA RT,and M ASO N JO EL CO URSO N,using adeadly ordangerous

      weapon, that is,a baton, flag pole,and cx tch, did forcibly assault. msist. oppose, im pede,

      intimidate,and intedkre with.anom cerand cmployeeofthe United States.andofany branch of

      theUnitedStatesGovemment(includinganymemberoftheuniformedservices),andanyperson
      assisting such an om cer and em ployee. that is, B.M .,an om cer from the M etropolitan Police

      DeN rtment while suchomceroremployeewasengagd in oron accountoftheperformanceof

      om cialduties,and where the actsin violation ofthissection involve physicalcontactwith the

      victim and the intentto comm itanotherfelony.

             (M saultinp Ree ting,orImpedingCertainOmeen UsingaDangerou:W esponand
             AidingandAbetting,inviolationofTitleI8.UnitedStatesCode.Sections1ll(a)(l)and
             (b).and2)
                                           C O UNT ELEVEN

             On oraboutJanuary 6.202l.atoraround 4:27 p.m.to 4:29 p.m .,within the Districtof

      Colum bia,CLAYTO N R AY M ULLINS and M ASO N JO EL CO URSON did fom ibly assault,

      resist,oppose,impede,intim idate,and interfere with,anom cerand em ployeeofthe United States.

      and ofany branch ofthe United States Government(including any memberofthe uniformed
      sewiccs),andanypersonassistingsuchanomcerandemployee,thatis.B.M .,anomcerfrom the
      M etropolitan Police Department,while such om cerorem ployee was engaged in and on account
      ofthepedbrmanceofom cialduties,andwheretheactsinviolationofthissectioninvolvephysical

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       conuctwith the victim and the intentto com m itanotherfelony.

             (Axqaulting,Resisting,orImpedingCertain Om cer:,inviolation ol-Titie l#,United
             StatesCode,Section lII(a)(l))
                                            COU NT TMX LV E

             On oraboutJanuary 6,202I,atoramund 4:27 p-m.to 4:29 p.m..within the Districtof

       Columbia,M ICHAEL JOHN LOPATIC Slt andRO NALD COLTON M CABEE didfoxibly

       assault x sist,oppose,im pede, intim idate,and interfere with,an om cer and em ployee of the

       UnitedSutes,andofanybmnchoftheUnitedStatesGovtrnment(includinganymemberofthe
       uniformed services),and any person nuisting such an omcerand employee,thatis,C.M.,an
       om cerfrom the M etm polilnn Police Department,while such pec n was engaged in and on
       accountofthepedbrm anteofom cialduties,and wheretheactsin violation ofthis tv tion involve

       physicalconuctwith thevictim and theintenttocommitanotherfelony.

              (M saultinp Raistinp orlmpedingCertain Omcea,in violationofTitle l8,United
              StatesCode,Section 111(a)(l))
                                           COUNT THIRTEEN
              On oraboutJanual 6,2021.ator around 4:27 p.m .to 4:29 p.m .,w ithin the D istrict of

       Columbia,JUSTIN JERSEY,usingadeadly ordangerousweapon,thatis,abaton,'did fomibly

       nmu ult,xsist,oppose,impede,intimidate,and interfere with,an om cerand employee ofthe

       UnitedStates,andofanybranchoftheUnitedStatesGovemment(includinganymemberofthe
       anifo= ed seaices).and any personassisting suthanom cerand employee.whilesuchom ceror
       employeewasengaged inoron accountoftheperfonnanceofom cialduties,and wheretheacts

       in violationofthissection involve physicalcontactw iththe victim and theintentto com m itanother

       felony.
              (Assaulting,Ree tlng,orImpeding Certain Om cea Using aDangerousW eapon,in
              violation ofTitle l8.United StatesCode.Sections lll(a)(1)and(b))




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                                       COUNT FO URTEEN

             On oraboutJanuae 6,202l,atoraround 4:27 p-m .to 4:29 p.m.,within the Districtof

      Columbia,JEFFREY SABOL,PETER FRANCIS STAGER,M ICHAEL JOHN LOPATIC

      SR ., JA CK W ADE W H ITTO N, CLA YTO N R AY M ULLINS. LOG AN JA M ES

      BAQNHART,RONALD COLTON M CABEE,M ASO N JOEL COURSON,and JUSTIN
      JERSEY,committed andattemptedto commitanacttoobstruct.impede,and interferewithaIaw

      enforcementom cerlawfullyengaged intheIawfulperfonnanceofhin erom cialduties,incident

      toand during thecommissionofacivildisorderwhich inanywayanddegreeobst-cted,delayed,

      and adversely afected commexe and themovementofany anicle and commodity in commerce

      andthe conductand performanceofany federally protected function.

              (CivilDlMrder,inviolationofTitle I8.UnitedStatesCode,Section23l(a)(3))
                                        CO UNT FIU EEN

             On oraboutJanuaq 6,202l,atoraround 4:29 p.m.,within the sm cialmaritime and

      teM torialjurisdictionoftheUnitedStates,M ICHAEL JOHN LOPATIC SR.,didtakeandcarry
      away,with the intentto stealorpurloin.the peoonalpropeo ofanother,thatis,a body-wom
      camem,from theperson ofanother,thatisOm cerB.M .,anom cerfrom theM etropolitan Police

       Depahm ent.

             (TheftinaFedem lEnelave.in violationofTitlel8,UnitedStatesCode,Section661)

                                        CO UNT SIXT EEN

             On oraboutJanuary 6,2021,atoraround 4:4: p.m.,within the DistrictofColumbia,

       JACK W ADE W HITTON,did fomibly usault,resist,oppox,impede,intimidate,and interfere

       with,an om cerand employee of the United States,and ofany branch ofthe United States

       Govemment(includinganymemberoftheuniformedservices).andanyperxnassistingsuchan
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      oë cerandemployee,thatim D.P.,anom cerfrom theMetropolitanPoliceDepalment, while such

      personwasengaged inand on accountofthcperformanceofom cialduties.and wheretheactsin
      violation ofthissection involvephysicalcontactwiththevictim and theintentto commitanother

      felony.

             (Arqaulting,Raistinp orImpeding Certain Omeers,inviolationofTitle l8,United
             StatesCode.SectionlIl(a)(l))
                                         CO UNT SEVENTEEN

             On oraboutJanuac 6,2021,atoraround 4:48 p.m.,within the DistrictofColumbia,

      JACK W ADE W HITTON,committedandattempted to commitanactto obstruct,impede,and

      interfere with a Iaw enforcementomcerlawfully engaged in the lawfulN rfonnance ofhis/her

      om cialduties,incidentto and during the commission ofacivildisorderwhich in any way and

      degreeobstructed,delayed,and adversely a/ected com merce and them ovem entofany m icleand

      commodity in commerceandtheconductand performanceofany federally protected functlon.

             (CivilDisorder,inviolationofTitlel8,UnitedStatesCode,Section23l(a)(3))
                                          CO UNT EIG HTEEN

             On or about Janumy 6, 2021,w ithin the District of Colum bia,JEFFREY SABO L,

      PETER FRANCIS STAGER JACK W ADE W HITTON,RONALD COLTON M CABEE,
      M ASO N JO EL CO UM ON, and JUSTIN JERSEY did knowingly enter and remain in a

      xstricted building and gmunds,thatis.any postid,cordoned-oë and otherwise restricted area
      within the United States Capitoland its grounds,where the Vke Prcsidentwas temporarily

      visiting,w ithoutlawfulauthority to do so,and,during and in relation to the offense,did use and

      ca> a deadly and dangerous weapon,thatis,a stick.baton.Gag N le.cnltch.and reinforced

      gloves.

             (Entering and Remaining in a Ratricted Building or Grounds with a Deadly or

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            DangerousW espon,in violationofTitle l8.United StatesCode, Secti
                                                                           on l752(a)(1)and
            @)(1)(A))
                                        COUNT NINETEEN

            On or about Januae 6. 2021, w ithin the District of Colum bia, JEFFQEY SAROL.

      PETER FRANCIS STAGER JACK W ADE W HITTON,RONALD COLTON M CABEE,
     M ASON JOEL COURSON,and JUSTIN JERSEY,didknowingly.:nd with intentto impede
     and dism pt the orderly conduct of Govem m ent business and om cial functions, engage in

     disorderly and disruptive conduct in and within such proxim ity to,a restricted building and

     grounds,thatis,anyposted,cordond-om andotherwiserestrictedareawithintheUnitedStates
     Capitoland itsgrounds,wherethe VicePresidentwastemporarily visiting.whenand sothatsuth

     conductdid in factimpedeand disruptthe orderly conductofGovernmentbusinessand om cial

     functionsand,during and in relation to the offense,did use and ca> a deadly and dangerous

     weapon,thatis,a stick,baton,nag pole.crutch.and reinfox ed gloves.

            (Disorderly and Disruptive Conduct in a Ratricted Building or G rounds wit: a
           Da dly or Dangerou: W eapon,in violation ofTitle l8,United States Code,Section
            1752(a)(2)and(b)(1)(A))
                                         CO UNT TW ENTY

            On or about Januaq 6, 202l, within the D istrid of Colum bia, JEFFREY SABO L,

     PETER FRANCIS STAGER JACK W ADE W HITTO N,RONALD COLTON M CABEE,
     M ASON JOEL COURSON.and JUSTIN JERSEY,did knowingly,engage in any act of

     physicalviolenceagainstanypersonand proy rty inaOstricted buildingandgrounds.thatis.any

     posted,cordoned-oë and othe- ise restricted area within the United States Capitoland its
     grounds,where the Vice Pcsidentwas temporarily visiting and.during and in relation to the
     o/ense,did use and ca> adeadly and dangerousw4apon,thatis,a stick,baton,flag pole,crutch,

     and reinforced gloves.

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             (EagaginginPkysiealVioleneeinaRetrictedBuildingorGroundswithan- dlyor
             Dangeroas W o pon,in violation ofTitle 18,United States Code, Section l752(a)(4)and
             (b)(l)(A))
                                        C OUNT TW ENTY-ONE
                                        -




             On or about January 6, 202l, within the District of Colum bia, M ICH AEL JO H N

      LOPATIC SR.. CLAW ON RAY M ULLINS, and LOG AN JAM ES BA RNHA RT, did

      unlaw fully and knowingly enterand xm ain ina restricted buildingand grounds.thatis,any posted,

      cordoned-ol andothe- iserestricted areawithintheUnitvdStatesCapitoland itsgrounds,where
      theVicePresidentwastem> rarily visiting,withoutlawfulauthorityto do so.

             (Enteriugan4 RemaininginaRetricted BuildingorGrounds,inviolationofTitle l8,
             UnitedStatesCe e,Section l752(a)(1))
                                       CO UNT TW ENTY-TW O

             On or about Januaq 6, 2021. w ithin the District of Colum bia, M ICH AEL JO H N

      LO PATIC SR., CLAYTO N RAY M ULLIN S, and LO G AN JAM ES BARNH ART, did

      knowingly,andwithintenttoimy deanddisrupttheorderlyconductofGovemmentbusinessand

      om cialfunctions,engage in disorderly and disruptive conductin and within such po xim ity to,a

      restrkted building and grounds,thatis,any posted.cordoned-om and othe- ise restricted nrea
      within the United States Capitoland its grounds,where the Vice Pru identwas temporarily

      visiting.when and so thatsuch conductdid in factimpede and dism ptthe orderly conductof

      Govemmentbusinessand om cialfunctions.

             (Dix rderlyand DisruptiveConductin aRo trleted Building orGrounds,inviolation
             ofTitle 18,United StatesCode.Section l752(a)(2))
                                      CO UNT TW ENTY-TH QEE

             On or about Januaq 6. 202l,within the District of Columbia,M ICHAEL JOHN
      LO PATIC SR ., CLA YTO N RAY M ULLINS, and LO GAN JAM ES BA RNHA RT, did




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     knowingly,engagein any actofphysicalviolence againstany person and propeo ina restricted
     building and grounds,thatis,any posted,cordoned-om and othe- ise restricted area within the
     UnitedStatesCapitolanditsgrounds.wherttheVicePxsidentwasttmporarily visiting.

           (Engaging in PhysicalViolence in a Restrided BuildlngorGrounds,inviolationof
           Title I8,United StatesCode.Section l752(a)(4))
                                      CO UNT TW ENT Y-FOUR
           On or aboutJanua? 6.2021.within the Districtof ColumbiasJEFFREY SABOL,

     PETER FRA NCIS STAG ER,M ICH AEL JO HN LO PATIC SR..JACK W ADE W H IW O N,

     CLAYTO N RAY M ULLINS, LO GA N JAM ES BA RNHA RT, RO NALD CO LTO N

     M CA BEE,M ANO N JO EL CO URSON ,and JUSTIN JERNEY w illfully and know ingly

     engaged in an actofphysicalviolence within the United StatesCapitolGroundsand any oftbe

     CapitolBuildings.

           (AetofPbysicalVloleneeintheCapitolGroundsorBuildings,inviolationofTitle40,
           UnitedStatesCode,Section5104(e)(2)(F))


                                              A TRUE BILL:



                                              FO REPERSON .



           mzup,                    zv
     Attorney oftheU ed Statesin
     and forthe DistrictofColumbia.




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                         V.                                 Case:1:21-cr-00035
                  Max n JoelCx rx n
                                                            Assigned to:Judge Sullkan,Em m etG .
                                                            Assign Da% :11/17/2021
                                                            Dee ption:SUPERSEDING INDICTMENT (B)
                                                            RelatedCax No:21-cr*0035(EGS)
                      > * t
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 To:     Any aetlmrlzzdlaw enfprcementomcer

         Y0UARECOMMANDED toa- anddringNfox aUnltd Stato ml Mmteludg:wimpqtunnx-                             delay
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  18U.S.C.52314::3)(CMIDlxfderl;
  18U.S.G.!1752(a)(1)(En*fIngandRemalnlY InaRestdded Bulldl* ofGfœ ndg);
  18Q.S.C.j1752(a)(2)(DIK MR* &ndDlsmpWeCondud InaRe e edBulldlY œ G> :ds);
  18Q.@.C.j1752(a)(4)(       ngInP> lœ lMolAnx lnaRestfldedBQMIngorG= e*);
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                              UNITED STATES DISTRICT COURT
                              SO UTHERN D ISTRICT OF FLORD A


                                cxssxo.: A l-YV -UG% 1-                                    -)
    UNITED STA TES OF A M ERICA,
                     Plaintiff,
                                                             N OTIC E O F TEM PO M R Y
                                                             APPEA M N CE A S C OUN SEL


  Yloaou -lx .t Couna r
                         D efendant.


          COMESNOW A v   -                    KxrCt,
                                                   ay                                     ,nd
   filesthistemporaryappearanceascounselfortheabovenameddefendantts)atinitialappearance.
   This appearance is m ade w ith the understanding thatthe undersigned counselw ill1 1511any

   obligations im posed by the Court such as preparing and flling docum ents necessary to

   collateralizeany personalsurety bond which m ay be set.

   Counsel'sxame(printed):-J *-                     fG 4O Y
   Counsel'sSignature:

   Address(includeCity/state/zipCode):
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        % e t                          kr -   W L-O S 1
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   Telephone:          .
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                                    COURT M INUTES/ORDER
                        United States M agistrate Judge Alicia 0.Valle
                              Courtroom 310                                   Date:12/15/2021 Time:11:00a,m.
Defendant;MasonCoursontl)                  J#:78637-509 Case#:21-6681-A0V
AUSA:Adam apner                                        Attorney:Jasovkreiss,Esq. --f-c
Violation: Assaulting,Resisting,orlm peding Certain Officersusing a Dangerous W eapon
Proceeding:InitialAppearance-Rule40/5 Removal      cJAAppt:
Bond/PTD Held:E Yes E No        Recom mended Bond: Detention
Bond Setat:                                                       Co-signed by:
 C Surrenderand/ordo notobtainpassports/traveldocs                        Language: English
 r                                         x'saweek/monthby               Disposition'
                                                                                     .
      phone:           x'saweek/monthinperson                                                                      .
 C    Random urinetesting by PretrialServices                                     .
      Treatm entasdeem ed necessary
 C- Refrain from excessive use ofalcohol
 C    Participate in mentalhealth assessment& treatment
 C M aintainorseekfull-timeemployment/education
 C Nocontactwithvictims/witnesses
 1- No firearm s
 r- Notto encum berproperty
 1- M ay notvisittransportation establishm ents
 C HomeConfinement/ElectronicMonitoringand/or
      Curfew             pm to            am,paid by
 C Allow ances:M edicalneeds,court appearances,attorney visits,
   religious,em ploym ent
 C Travelextended to:
 C    Other:
NEXTCOURTAPPEARANCE      Date:               Time:              ludge:                         Place:
ReportRE Counsel:
PTD/BondHearing: lâ -Qk7-c)rJ1@-. ïO G.. M
Prelim/ArraignorRtr
                  P.Q.
                   .
                     K#1: l-k-4.t3-1% àe.$OGa
StatusConference RE:
D.A.R.ïà'
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          . t 5u - -- :S                                                 Timeincourt: c;o fvNx
                                                                                             -xs.
   CHECKIFAPPLICABLE:      Forthereasonsstated bycounselforthe Defendantandfindingthattheendsofjustiteserved by
                                                                                                                   2
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  grantlngtheoretenusm otionforcontinuance to hire counseloutweighthe bestinterestsofthepublic& theDefendantIn a
  SpeedyTrial,theCourtfindsthattheperiod oftim efrom today,throughandincluding               ,shallbe deemed
  excludable in accordance w ith the provisions ofthe Speedy TrialAct,18 USC 3161 etseq..
                                                                                                                   18
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                            LIN ITED STA TES D ISTR ICT CO U R T
                                                FOR THE

                                   SOUTHERN DISTRICT OF FLORIDA



                                                                  CaseN o:21-6681-V ALLE
                                                                  YourCaseNo:21-CR-35(EGS)
       United States ofA m erica

               VS                                         W A IVER O F R EM O V AL H EAR ING

       M ason C ourson

       I ,M ason C ourson charged in a proceeding on an Superseding lndictm entfiled in the D istrict
       ofColumbiainviolationof18:U.S.C.j111(a)(1)andtblzAssaulting,Resisting.Orlmpeding
       Certain OfficersUsingA DangerousW eapon;18:U.S.C.j231(a)(3)CivilDisorder;
       18:U.S.C.j1752(a)(1)Enteringand RemainingInA Restricted BuildingOrGrounds,and
       havingbeen arrested intheSouthern DistrictofFlorida(FortLauderdale)andtakenbefore
       United StatesM agistrateJared M .Strauss,forthatdistrict,who infonued m eofthechargeand
       ofmy rightto retain counselorrequestthe assignmentofcounselifIam unableto retain counscl,
       andto havea removalhearing orexecute awaiverthereof,dohereby waive ahearing beforethe
       aforem entioned M agistrateJudge and consentto theissuance ofaW arrantformy Removalto the
       D istrictof Colum bia where the aforesaid charge ispending againstm e.
                                                                   .             .z'
                                                                           ,''                   m
                                                                       .                        .

       M onday Decem ber 20th, 2021                       .e'''
                                                                             Signatureofdefendant



  /'

       Jared    .Strauss
       UnitedStates agistrateJudge(12/20/2021)

       cc:A l1Counsel




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        UNITED STATES DISTRICT COURT FOR SOUTHERN DISTRICT OF FLORIDA **COURT ORDER/MINUTES**
                U.S.MAGISTRATE JUDGE JARED M.STRAUSS- FORT LAUDERDALE, FLORIDA (203-D)


 DEFT:       MASON COURSON (J)#78637-509                         CASE NO: 2l-6681-VALLE
 AUSA:       ADAM HAPNER                                         ATTY:     JASON KREISS
 USPO :
                                                                 VlOL:
                                                                          I8:U.S.C.j111.231.1752
 PROCEEDING: PRETRIAL DETENTION AND                              RECOM M ENDED BOND:
             REMOVAL HEARING
 BOND/PTD HEARING HELD -yes/no                           COUNSEL APPOINTED:

 BOND SET@ :                                                     Tobecosignedby:
 Q        AlIstandardconditions                                    DEFENDANT PRESENT IN COURT W ITH CO UNSEL

          Donotencumber property.                                 BOTH SIDESSTIPULATETO CONTINUE BOTH
 Q         Surrenderand/ordonotobtainpassports/travel,
          documents.                                              DETENTION AND REM OVAL HEARINGS TO
           Rptto PTS asdirected/ or- x'saweek/month by phone;-
          x'saweek/month in person.                               W EDNESDAY DEC 22 2021AT 10AM
           Random urinetesting by PretrialServices.
          Treatmentasdeemcdnecessary.                             DEFENSE COUNSEL INFO RM THE COURT THAT IT

 Q        M aintain orseek full-timeemployment.                   HAS RECEIVED SOM E DISCOVERY
          No contactwithvictim s/witnesses.                       GOVERNM ENT W ILL PROVIDE EXHIBITS AND COPY
          No firearms.                                            O F PROTECTIVE PRIOR TO HEARING
 Q        ElectronicM onitoring-
                               .                                  DEFENDANT W AIVED REM OVAL/IDENTITY H EARING
          Travelextendedto:
                                                                  SIGNED W AIVER IN O PEN COURT.
 Q        Other:

 NEXTCOIJRTAPPEAM NCE:                  DATE:                    TIM E:              JUDGE:            PLACE:

 REPORT RE
 COUNSEL:
 PTD/BOND
 HEARING:                            W EDNESDAY DECEMBER 222021AT 10AM DUTY MAGISTRATE
 ARRAIGN OR REM OVAL:

 PR ELIM /EXA M HR G

         12/20/21        TIME: 10:00 AM           FTL/TAPE/#                        Begin pxu
                                                                                                   :
     I15MINUTESI***RECORDED IN 203-D JUDGE SNOW 'S COURTROOM*W
***TH E TIM E FROM TODAY THROUGH THE RE-SCHEDULED DATE IS EXCLUDED FROM THE DEADLINE FOR TRIAL AS
COMPUTED UNDER THE SPEEDY TRIAL ACT ***(YESOR NO)DAR:9:26:56-9:40:29


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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                CASE NO.: 21-MJ-6681-AOV-1

   UNITED STATES OF AMERICA,

                         Plaintiff,
    vs.

    MASON JOEL COURSON,

                         Defendant.
                                           /

                                  DEFENDANT’S NOTICE OF FILING

         COMES NOW, the Defendant, Mason Joel Courson, by and through his undersigned
   Counsel and hereby files the following character letters for this Honorable Court to consider:

          Robert Hasmi                 Uncle
          Christopher Lopez            Pastor

                                                     Respectfully submitted,

                                                     /s/ Jason W. Kreiss
                                                     JASON W. KREISS, ESQ.
                                                     Florida Bar Number: 87912

                                                     The Kreiss Law Firm
                                                     1824 SE 4th Avenue
                                                     Fort Lauderdale, Florida 33316
                                                     Phone: 954-525-1971
                                                     Fax: 954-525-1978
                                                     Email: jwk@kreisslaw.com


                                CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing notice has been
   furnished by CM/ ECF to all counsel of record on this 22nd day of December 2021.

                                                      /s/ Jason W. Kreiss
                                                      Jason W. Kreiss, Esq.




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   From: Ana Hasmi <anarob5107@gmail.com>
   Date: Sun, Dec 19, 2021 at 8:52 AM
   Subject:
   To: <angrea8180@gmail.com>



   To Whom It May Concern:

   My name is Robert A. Hasmi. I am a retired police officer serving the Hialeah Police Department for 23
   years, as well as a Marine for 8 years.
   I have personally known Mason Joel Courson for the last 9 years as my nephew.

   During my relationship with Mason, I have experienced an individual who works hard, is a great father
   and carries himself in a respectful manner.
   In numerous conversations with Mason, he has always displayed respect for law enforcement.
   The charges Mason Courson is being accused are completely out of his character.

   Please do not hesitate to contact me if should require any further information.

   Respectfully,

   Robert Hasmi
   786-537-4589
   Miamigunsmith@gmail.com




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   To whom it may concern,



   I’m writing this letter to help shine light on the character and heart of Mason Courson, to whom

   I’ve personally have had the privilege of knowing and pastoring. Mason, a few years ago,

   became serious about his faith and instantly began serving at VOUS Church, a local church in

   Miami. His heart for people was very evident in the way he would interact and engage with

   everyone in the church community. He served / volunteered hundreds of hours within the church

   and also helped to be part of projects within the city of Miami through an initiative called “I Love

   My City”. He volunteered his time within the Venue Control team at VOUS Church, a team of

   volunteers that help to ensure the health and safety of the congregation. This team consisted of

   many off duty law enforcements in which Mason was constantly honoring and respectful toward.

   Mason was very vocal about the people in his family that were in law enforcement. Mason’s

   character and heart for people is not one to ever hurt anyone. It’s shocking to read such

   allegations that Mason would ever physically harm anyone let alone a person in law

   enforcement. Mason is known to be a loving and caring person. He is an incredible son, brother,

   father and most importantly a man of God with great morals and values. My prayer is that his

   light and heart would shine through these horrible allegations. I also pray that this letter would

   help convey the integrity and character of an amazing man of God who has done incredible

   work to help people in need and those far away from God.



   With much love and discernment,




   Chris Lopez
   Chris Lopez
   VOUS Church
   General Manger / Licensed Minister




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      UNITED STATES DISTRICT COURT FOR SOUTHERN DISTRICT OF FLORIDA **COURT ORDER/MINUTES**
                  U.S.MAGISTRATE JUDGE JARED M.STRAUSS-FORT LAUDERDALE,FLORIDA (203-D)

DEFT;      MASON COURSON (J)#78637-509                           CASENO: 21-668I-VALLE
AUSA :      ADAM HAPNER                                          ATTY:    JASON KREISS
USPO:                                                            vjou:
                                                                         I8CU.S.C.jl11,231,1752
PROCEEDIN G:        PRETRIA L DETEN TION                         RECO M M END ED BON D:


BOND/PTD HEARING HELD -yes/no                               COUNSEL APPOINTED:

BOND SET @ :                                                     Tobecosignedby:
                                                                  DEFENDANT PRESENT IN COURT W ITH COUNSEL
         AlIstandardconditions
         Do notencumber property.                                GOVERNM ENT PROCEEDING BY PROFFER
Q         Surrenderand/ordonotobtain passports/travel
         docum ents.                                             BASED ON DANGER TO THE COM M UNITY.DEFENDANT

Q         Rptto PTS asdirected / or- x'saweek/monthbyphone;-
         x'saweek/month in person.                               CHARGED IN EIGHT COUNTS(7,10,11914,18.19,20,24)
          Random urinetesting by PretrialServices.
         l'
          reatmentasdeemed necessary.                            GOVERNM ENT'S EXHIBIT 1SUBM ITTED

Q        M aintain orseek full-timeemployment.                   DEFENDANT'S OBJECTS TO EXH IBIT 1.COURT ALLOW S
         No contactwith victims/witnesses.                       EXHIBIT l TO BE ADM ITTED.SW ORN/TEST FBIAGENT
         No firearms.                                            M C DANIEL.CROSS-EXAM INED BY DEFENSE COUNSEL
Q        ElectronicM onitoring'
                              .                                  CO URT HEARD ARGUM ENT FRO M BOTH SIDES
Q        Travelextendedto:                                       COURT ORDERS DEFENDANT DETAINED PENDING TRIAL

                                                                 REM ANDED TO U.S.M ARSHALS CUSTO DY.CO M M ITM ENT
Q        Other:                                                  ORDER SIGNED.W RITTEN ORDER TO FOLLOW .

NEXT COURTAPPEAM NCE;                   DATE:                    TIME:               JUDGE:             PLACE;

REPORT RE
COUN SEL:
 PTD/BOND
 HEARIN G :
 ARRA IG N OR REM OVA L:

 PRELIM /EXA M H RG

         12/22/21       TIME: 10:00 AM           FTL/TAPE/#                         Begin pxu :
    11HOURAND30MINUTESI***RECORDEDI
                                  JN
                                   MS
                                    203
                                      -D JUDGE SNOW 'S COURTROOM **
                                                        -
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***TH E TIM E FROM TODAY THROUG H THE RE-SCHEDULED DATE IS EXCLUDED FROM THE DEADLINE FOR TRIAL AS
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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                      CASE NO. 21-MJ-06681-AOV

   UNITED STATES OF AMERICA

   v.

   MASON JOEL COURSON,

         Defendant.
   _____________________________________/

                 CERTIFICATE OF COMPLIANCE RE ADMITTED EVIDENCE
                    AT THE DECEMBER 22, 2021 DETENTION HEARING

            I, Adam Hapner, as counsel for the United States of America, hereby certify the following:

   Check the applicable sections:

    X ALL EXHIBITS E-FILED: All documentary exhibits and photographs of non-documentary
   physical exhibits offered or introduced into evidence have been electronically filed in CM/ECF.

        •    Gov. Exhibit 1 (Composite) – Photographs

         EXHIBITS NOT E-FILED: The following is an itemized list of exhibits that are exempt
   from mandatory electronic filing pursuant to Local Rule 5.3(b)(3):

   Any original exhibits that have been returned to or retained by the filing party after electronic filing
   shall be kept for safe keeping until the conclusion of any appeals. Upon order of court, the filing
   party agrees to return the original exhibits to the Clerk of Court.

   This Certificate shall be filed within ten (10) days of the conclusion of a hearing or trial. Failure
   to timely comply with the requirements of Local Rule 5.3(b) may result in the imposition of
   sanctions.


   Signature:      _________________________________             Date:    December 23, 2021




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      1 (Composite)

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        TO :THE UN ITED STA TES M A R SH AL
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                                 UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                      CASE NO. 21-6681-VALLE

   UNITED STATES OF AMERICA,
                                                                                              AT
   v.
                                                                                  Dec 23, 2021
   MASON JOEL COURSON,

                     Defendant.                                                                  FTL
   ______________________________/

                                         DETENTION ORDER

          THIS MATTER came before the Court upon the Government’s motion to detain the

   Defendant, Mason Joel Courson, prior to trial and until the conclusion thereof. Having received

   evidence and heard arguments of counsel, and having considered the statutory factors in 18 U.S.C.

   §3142(g), the Court hereby GRANTS the Government’s motion and hereby orders Defendant

   Mason Joel Courson, detained prior to trial, for the reasons stated on the record at the hearing and

   as further discussed below in accordance with the provisions of 18 U.S.C. § 3142(i).

   A.     INTRODUCTION

          The Defendant is charged by Indictment, along with eight other individuals, with a host of

   offenses stemming from his participation in the events at the United States Capitol on January 6,

   2021. Specifically, the Defendant is charged with: Assaulting, Resisting, or Impeding Certain

   Officers Using a Dangerous Weapon, in violation of Title 18, United States Code Sections

   111(a)(1) and (b) and 2 (Count 10); Assaulting, Resisting, or Impeding Certain Officers, in

   violation of Title 18, United States Code, Section 111(a)(1) (Count 11); Civil Disorder, in violation

   of Title 18, United States Code, Section 231(a)(3) (Counts 7 and 14); Entering and Remaining in

   a Restricted Building or Grounds with a Deadly or Dangerous Weapon, in violation of Title 18,


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   United States Code, Section 1752(a)(2) and (b)(1)(A) (Count 18); Disorderly and Disruptive

   Conduct in a Restricted Building or Grounds with Deadly or Dangerous Weapon, in violation of

   Title 18, United States Code, Section 1752(a)(2) and (b)(1)(A) (Count 19); Engaging in Physical

   Violence in a Restricted Building or Grounds with a Deadly or Dangerous Weapon, in violation

   of Title 18, United States Code, Section 1752(a)(4) and (b)(1)(A) (Count 20); and Act of Physical

   Violence in the Capitol Grounds or Buildings, in violation of Title 40, United States Code, Section

   5104(e)(2)(F) (Count 24). The United States seeks detention on the basis of danger to the

   community. 1 On December 22, 2021, I held a hearing to determine whether any condition or

   combination of conditions of release will reasonably assure the safety of any person and the

   community. 18 U.S.C. § 3142(f). The Government must establish by clear and convincing

   evidence that no condition or combination of conditions will reasonably assure the safety of any

   individual or the safety of the community. 18 U.S.C. § 3142(f)(2). In determining whether the

   Government has met its burden by the requisite standard of proof, this Court must take into account

   the factors enumerated in 18 U.S.C. § 3142(g).

   B.     FINDINGS OF FACT

          The evidence adduced at the pretrial detention hearing consisted of the information

   contained in the Pretrial Services Report, the testimony of FBI Special Agent Michelle McDaniel,

   a composite exhibit of still images taken from various video recordings (GX 1), a “No File” notice




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     As a preliminary matter, the Government correctly argues that the Defendant is eligible for
   pretrial detention, under 18 U.S.C. § 3142(f)(1)(A), because he is charged with at least one “crime
   of violence” – specifically, Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous
   Weapon, in violation of Title 18, United States Code Sections 111(a)(1) and (b) and 2. See United
   States v. Sabol, No. 21-35-1 (EGS), 2021 WL 1405945, *5-7 (D.D.C. Apr. 14, 2021) (finding that
   a violation of § 111(a)(1) and (b) is a “crime of violence” under the definition in 18 U.S.C. §
   3156(a)(4) and relevant case law). The Defendant is also charged with multiple offenses that
   “involve[] the possession or use of . . . a dangerous weapon[.]” See 18 U.S.C. § 3142(f)(1)(E).
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   from Florida’s Circuit Court of the Fifteenth Judicial Circuit (DX 1), and two letters filed in

   support of the Defendant (DE 6-1, 6-2). I have considered all of this evidence in making my

   findings.

          1. Government’s Evidence

          On January 6, 2021, a joint session of the U.S. Congress convened to certify the Electoral

   College vote count and the 2020 Presidential Election. According to a post-Miranda statement he

   later gave to the FBI, the Defendant had left Florida with a friend on January 4, 2021, to attend the

   “Stop the Steal” rally held by then-President Donald Trump in Washington, D.C. on January 6,

   2021. The Defendant posted a picture on social media from the rally, indicating “I’m here to #stop

   the steal.” GX 1 at 22. That day, the Defendant wore a grey Oakley jacket, a red Trump “beanie,”

   sunglasses, black gloves, and a “Thin Blue Line USA” “gator” face and neck covering, while

   carrying a black or grey backpack.

          Following the rally, the Defendant, and a mob of others, descended upon the U.S. Capitol’s

   lower west terrace. There, they encountered officers from the Metropolitan Police Department

   (MPD), including officers B.M., A.W., and C.M., who had responded to assist the U.S. Capitol

   Police in quelling the riot occurring at the Capitol. The MPD officers guarded an archway tunnel

   access point where rioters, including the Defendant, were trying to enter the Capitol. By the

   Defendant’s own admission post-Miranda, the scene was like a “war zone.” The Defendant

   admitted that he and others were trying to enter the Capitol despite the police attempting to stop

   them. He described people trying to “battering ram” their way through the police, while yelling

   “heave ho.”

          The series of still-shots in GX 1 show some of the Defendant’s actions in and among the

   riotous crowd at the lower west terrace. While, as defense counsel argued, the still-shots cannot
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   demonstrate the full range of the Defendant’s actions and their context without the continuous

   videos from which they are taken, the still-shots nevertheless clearly demonstrate certain actions.

   The photographs at pages 2 and 3 of GX 1 show the Defendant 2 approaching and then reaching

   the archway gate guarded by the MPD. Around 3:16 p.m., the Defendant was among the rioters

   trying to force their way through the archway against the MPD officers. GX 1 at 4-7. By

   approximately 3:19 p.m., however, the body camera video of an officer shows the Defendant

   outside the archway, suggesting that he reversed course. Id. at 8. Approximately one minute later,

   another video shows the Defendant crouching down to the ground and standing back up with a

   police baton, which he then brandished aloft over his head. Id. at 9-10.

          At approximately 4:27 p.m. – more than an hour later – the Defendant was still at the lower

   west terrace, with the baton in hand and headed towards the archway again. Id. at 11-12. Over

   the ensuing 90 seconds, officers B.M., A.W., and C.M. were brutally assaulted by the mob. A.W.

   was knocked to the ground and dragged through the crowd, where he was stomped on, mased, and

   struck with poles. Rioters ripped off A.W.’s helmet, took his gas mask, and stole his MPD-issued

   cell phone. B.M. was dragged over A.W. into the crowd, where he was repeatedly struck by a flag

   pole, police baton, and crutch. C.M. was assaulted while trying to reach B.M. and assist him.

   Ultimately, A.W. suffered multiple lacerations to his head, requiring multiple staples to stop the

   bleeding. B.M. suffered abrasions to his nose and cheek, as well as bruising to his left shoulder.

          Shortly after co-defendants Whitton, Barnhart, and Sabol dragged down officer B.M. (Id.

   at 13), the Defendant approached with the baton he had obtained an hour earlier. Id. at 14. The




   2
     The Defendant would later identify himself in one of the photographs during his post-Miranda
   interview, and a search of his home found the articles of clothing he is wearing in the photographs.
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   Defendant struck B.M. with the baton while B.M. was prone on the stairs near a railing. Id. at 15. 3

   The Defendant then climbed over the railing, ascended the stairs, and, with other rioters, dragged

   A.W. down the stairs. Id. at 16-18. The image on page 20 of GX 1, from A.W.’s body camera,

   shows the Defendant and another individual standing over A.W. as A.W. struggled to get away,

   while page 19 shows the Defendant (from behind) hovering around A.W. while A.W. was being

   assaulted. The image on page 19 shows the Defendant still brandishing the baton. Id. Finally, the

   Defendant returned to B.M. and shoved B.M.’s head down as B.M. tried to get up. Id. at 21.

          On December 14, 2021, approximately 10 FBI agents (in addition to a SWAT team),

   executed a search warrant on the Defendant’s residence in Tamarac, Florida. With the Defendant’s

   cooperation, the searching agents found the “Thin Blue Line” face shield, grey Oakley jacket, and

   red Trump beanie that the Defendant is seen wearing in the still-shots from January 6, 2021. They

   also recovered the baton that the Defendant was seen wielding. Additionally, the agents found

   two firearms (which defense counsel represented have since been secured and removed from the

   residence).

          The Defendant spoke to a subset of the agents in an (unrecorded) post-Miranda statement

   in his kitchen. As mentioned above, the Defendant identified himself in one of the photographs in

   GX 1 and admitted to going to the Capitol grounds after the Stop the Steal rally. He described the




   3
     As described below, during his post-Miranda statement, the Defendant admitted to exchanging
   blows with officers, taking the baton, and striking an officer with the baton. However, when shown
   the photos on page 15 of GX 1, the Defendant claimed to be helping to protect the officer from
   other protestors. This explanation is not consistent with the images on page 15. Those images
   show the Defendant crouched over B.M., holding the baton with a two-handed grip, with his arms
   and the baton extended down towards B.M.’s back. From these images, in combination with the
   Defendant’s other post-Miranda statements stating that he felt striking the officers was “justified,”
   I find that there is clear and convincing evidence that the Defendant did, indeed, strike B.M. with
   the baton.
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   scene at the Capitol Grounds as being like a “war zone” and that he felt like he was in a “battle.”

   Specifically, he described the air being thick with pepper spray and the police using pepper spray,

   gas, rubber bullets, and batons to try to clear the area. He admitted to trying to enter the Capitol

   even though police were trying to keep people out of the building and further admitted that he

   ultimately entered the Capitol. As stated above, he described people in the crowd acting like a

   “battering ram” to get through the police officers. He also admitted that he had exchanged blows

   with officers, had taken the baton, and had hit an officer with the baton. Despite his “Thin Blue

   Line” face covering (seemingly showing support for law enforcement), he stated that he felt these

   officers were not “thin blue line” but rather were “traitors.” He also claimed that hitting the officer

   was justified because of the chaos of the situation.

             There is no evidence that the has or had any connection to any militia, anti-government, or

   other radical groups either before or after January 6. Nor is there any evidence of him making

   social media postings or other communications about violence against the government. There is

   no evidence that he planned on engaging in violence when he left Florida on January 4; for

   example, there is no evidence that he arrived in Washington, D.C. with any weapons (including

   the baton), pepper spray, helmet, gas mask, body armor, or other tactical gear. Nor is there any

   evidence that he has committed any other crimes since January 6, including during the few days

   of surveillance by the FBI prior to the execution of the search warrant. There is also no evidence

   that he attempted to obstruct the investigation or otherwise obstruct justice.          He was also

   cooperative during the search, assisting the agents in finding the clothing he wore, identifying the

   friend he had traveled with, and speaking to the agents in his kitchen after waiving his Miranda

   rights.



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          2. Pretrial Services Report

          According to the Pretrial Services Report, the Defendant is 26 years old and a lifetime

   resident of south Florida. His parents and two adult siblings all live in south Florida, and he shares

   custody of a two-year-old child with the child’s mother (who lives in Tallahassee). He is self-

   employed in a business (which defense counsel proffered sells audio equipment), from which he

   earns approximately $1,500-$2,000 per month, and trades digital currency.              He consumes

   marijuana daily and alcohol weekly, but he has no other history of substance abuse and no history

   of mental health treatment.

          The Defendant’s criminal history includes a series of incidents between 2013 and 2018. In

   2013 (at the age of 17), the Defendant was charged with disorderly conduct and resisting an officer,

   although the charges were dropped after the Defendant completed a pretrial diversion program.

   Approximately a year-and-a-half later, in September 2015, the Defendant was charged with (and

   ultimately adjudicated guilty of) battery and resisting arrest without violence, for which he

   received one year of probation in March 2016. 4 Less than five months after being placed on

   probation, he violated that probation and committed the offense of grand theft (3rd degree). During

   his probation, he also committed offenses of peddling without a license or permit and loitering or




   4
     The Government proffered facts from the arrest affidavit of this incident, which described the
   Defendant as having punched the owner of a bar while intoxicated and then pushing, kicking, and
   fleeing from multiple law enforcement officers. However, while the Defendant was initially
   charged with multiple counts of battery on a law enforcement officer, assault and battery on a law
   enforcement officer, and resisting an officer with violence, two weeks later the state prosecutor
   chose not to file these charges. DX 1. Instead, the Defendant was only convicted of one count of
   battery and one count of resisting arrest without violence (with other counts of battery, marijuana
   possession, and disorderly intoxication being nolle prosed). Therefore, I do not rely on the specific
   facts proffered from the arrest affidavit. Defense counsel represented that the incident involved
   the Defendant being intoxicated and having an altercation with the owner of the establishment.
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   prowling. For the grand theft offense, he was again placed on probation in December 2017, which

   apparently terminated about six weeks later when he paid restitution. Approximately two months

   after termination of this term of probation, he was arrested for (and ultimately pled guilty to)

   driving under the influence in Pennsylvania.

   C.       STATEMENT OF REASONS FOR DETENTION

            Title 18, United States Code, Sections 3142(g) requires the Court to consider the nature

   and circumstances of the offense, the weight of the evidence against the Defendant, the history and

   characteristics of the Defendant, and the nature and seriousness of any danger to a person or to the

   community caused by the Defendant’s release. After considering those factors in detail as

   described below, and based upon the above findings of fact, the Court specifically finds by clear

   and convincing evidence that no condition or combination of conditions of release will reasonably

   assure the safety of the community. 18 U.S.C. § 3142(e).

            1. The nature and circumstances of the offense charged.

               The nature and circumstances of the offense charged weigh heavily in favor of

        detention. For starters, the clear and convincing evidence indicates that the Defendant took

        part in what can only be described as an armed insurrection against American democracy. That

        the riot involved violent attacks on law enforcement officers and caused serious concern for

        the safety of lawmakers and others in the Capitol alone makes the offenses incredibly serious.

        But it is inescapable that the purpose of the riot was to disrupt “the solemn process of certifying

        a presidential election.” United States v. Cua, No. 21-107 (RDM), 2021 WL 918255, at *3

        (D.D.C. Mar. 10, 2021). The rioters sought to overturn the results of a democratic election with

        which they were unhappy – not by politics or by law, but by force. I cannot conceive of

        anything evincing a greater disrespect for the rule of law.


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             However, I must – and do – consider this Defendant’s individual conduct and the

      specific offenses with which he is charged. For “despite the serious and chilling nature of the

      events that took place [on January 6], the D.C. Circuit has made clear that detention is not

      appropriate in all cases involving Capitol Riot defendants.” Sabol, 2021 WL 1405945 at *10

      (citing United States v. Munchel, No. 21-3010, 2021 WL 1149196, at *4 (D.C. Cir. Mar. 26,

      2021)). Specifically, I consider the six “guideposts” that the District Court for the District of

      Columbia has utilized to assess the comparative culpability of defendants in relation to other

      rioters from that day: “(1) whether the defendant has been charged with felony or misdemeanor

      offenses; (2) the extent of the defendant’s prior planning, ‘for example, by obtaining weapons

      or tactical gear’; (3) whether the defendant used or carried a dangerous weapon; (4) evidence

      of coordination with other protestors before, during, or after the riot; (5) whether the defendant

      played a leadership role in the events of January 6, 2021; and (6) the defendant’s ‘words and

      movements during the riot’—e.g., whether the defendant ‘remained only on the grounds

      surrounding the Capitol’ or stormed into the Capitol interior, or whether the defendant ‘injured,

      attempted to injure, or threatened to injure others.’” Id. (citing United States v. Chrestman, 525

      F. Supp.3d 14 (D.D.C. 2021)).

             Half of these factors weigh in favor of finding the Defendant among those whose

      offenses were more serious while half weigh against. Most of the Defendant’s alleged offenses

      are felonies, rather than misdemeanors. The most serious of these, Assaulting, Resisting, or

      Impeding Certain Officers Using a Dangerous Weapon, in violation of Title 18, United States

      Code Sections 111(a)(1) and (b) and 2 (Count 10), carries a maximum penalty of 20 years in

      prison, and the Government estimates that the Defendant would face a guidelines range of 97-

      121 months in prison if convicted without acceptance of responsibility (and 70-87 months with


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      acceptance of responsibility).      During the alleged offenses, the Defendant also used a

      dangerous weapon – the police baton that he obtained and brandished during the riot. The last

      factor also weighs in favor of finding the Defendant’s conduct among the more serious group

      of offenders. During the riot, he did not merely remain on the Capitol grounds or enter after

      others had cleared the way. Rather, he was among those seeking to “battering ram” their way

      through officers protecting the entrance and actually entered the Capitol.            Even more

      significantly, he attempted to injure another person – specifically officer B.M. by striking him

      with the baton and officer A.W. by assisting in dragging him down the stairs. The fact that

      these individuals were law enforcement officers increases the seriousness of the offenses, as

      does the fact that he acted against multiple officers.

             On the other hand, there is no evidence that the Defendant played a leadership role.

      There is no evidence that he came to Washington, D.C. planning on engaging in violence.

      Unlike other rioters, and even some of his co-defendants, he did not come with weapons or

      tactical gear. Moreover, there is little evidence of the Defendant coordinating with other rioters,

      before, during, or afterwards. It is true, as the Government argues, that the Defendant jointly

      undertook the assaults of B.M. and A.W. with other rioters, helping other rioters drag A.W.

      down the stairs. However, the evidence before me is insufficient to conclude that these

      circumstances constituted conscious “coordination.”

             However, I do find very significant that the Defendant remained at the lower west

      terrace for more than hour, making multiple attempts to enter. His most serious conduct (the

      assault on B.M. with the baton and the dragging of A.W.) occurred more than hour after his

      first attempt to push through the officers guarding the entrance and when he first obtained the

      police baton. In short, to the extent that some of the factors seeming to weigh in his favor are


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          meant to discern whether the Defendant’s offenses were the result of being swept up by

          impulse, rather than a conscious and deliberate plan, I find that the Defendant had ample

          opportunity to leave the “war zone” and “battle” he encountered. Instead, he made the

          conscious decision to remain for more than hour and further engage in that “battle.” Thus,

          having considered all of the factors in addition to overall context of the offenses, I find that the

          nature and circumstances of the offenses weighs heavily in favor of detention.

              2. The weight of the evidence against Defendant.

              The weight of the evidence against the Defendant is strong and also weighs in favor of

   detention. The still-shot images, in combination with the Defendant’s statements and the items

   found at his residence, not only demonstrate the Defendant’s presence at the lower west terrace

   but that the Defendant engaged in the most serious of the offenses with which he is charged. Again,

   clear and convincing evidence demonstrates that the Defendant did, at the very least, assault B.M.

   with a baton, with the images on page 15 of GX 1 clearly showing him striking the B.M. as he lay

   prone on the stairs. His statements also indicate that he felt justified in doing so.

              3. Defendant’s history, characteristics, and criminal history.

              Some of the Defendant’s history and characteristics weigh in his favor. He has strong ties

   to south Florida, having lived here his entire life and having his parents and siblings nearby. His

   family’s presence (in combination with their proffered willingness to co-sign on a bond and his

   mother’s willingness to have the Defendant reside with her) indicate a stability that could mitigate

   concerns of danger to the community. The Defendant also has somewhat stable employment

   (although it is difficult to discern how stable a two-year-old audio equipment distribution business

   is).

              However, the Defendant’s criminal history, while not replete with serious felonies, is


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   concerning. His criminal includes a series of offenses in short succession. They include multiple

   instances of disorderly conduct and resisting law enforcement officers. More importantly, they

   show multiple instances of the Defendant either violating probation or engaging in violations

   shortly after a term of probation, including an offense of driving while intoxicated. I do credit

   defense counsel’s argument that many of these offenses may have been related to abuse of alcohol

   and are not necessarily similar to the offenses with which he is now charged. But the alcohol-

   related offenses and the probation violations suggest that the Defendant has a distinct difficulty

   with impulse control and decision-making. Those deficiencies are consistent with the offenses

   with which he is charged (not just in the decision to go to the Capitol following the rally but also

   the decision to remain for over an hour in that atmosphere). Moreover, the commission of offenses

   while on probation (or even shortly thereafter) suggest an inability to abide by conditions of bond.

          As to the Defendant’s character, I have considered the letters submitted on his behalf,

   including their professions that the Defendant has great respect for law enforcement. However,

   the Defendant’s criminal history and his conduct in this case (per the clear and convincing evidence

   before me) strongly suggest otherwise. As stated above, the Defendant had shown resistance to

   law enforcement multiple times prior to January 6.         Despite his professed respect for law

   enforcement, he nonetheless branded the MPD officers protecting the Capitol as “traitors” and felt

   “justified” in assaulting them by the “chaos.” 5 Moreover, I find it significant that the Defendant

   kept the baton with which he assault B.M. Whether the Defendant intended to keep it as a trophy

   or a memento, I cannot determine. However, the fact that the Defendant kept that weapon over

   the course of the last year is not emblematic of someone who has remorse or has come to regret



   5
     Notably, it is the Defendant who chose to stay in the “war zone” atmosphere for more than hour.
   In other words, the Defendant placed himself – and kept himself – amidst the “chaos” that the
   officers were trying to quell, not create.
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   his actions after the passions of the moment have subsided. For all of these reasons, I find that the

   Defendant’s character and history provide significant doubt for whether he would respect and

   abide by conditions of bond that I could set.

          4. The nature and seriousness of the danger to any person or the community that would
             be posed by Defendant’s release.

          The unique circumstances of the charged offenses, and the evaluation of the six

   “Chrestman” factors, also bear on the danger the Defendant may pose if released. See Sabol, 2021

   WL 1405945 at *10. For similar reasons articulated above, I also find that the Defendant does

   pose a serious danger to the community if released. It is possible that, removed from the particular

   passions and circumstances of January 6, without what defense counsel referred to as the “catalyst”

   of former-President Trump’s “war cry” to “walk down to the Capitol. . .[and] show strength” the

   Defendant would not engage in conduct similar to the crimes charged. However, the clear and

   convincing evidence is that the Defendant answered that “war cry.” Having made that choice, he

   made the further deliberate choice to remain at the “war zone” for a significant period of time and

   take up the opportunity (having found a weapon when did not have one previously) to engage in

   “battle” with law enforcement officers he branded as “traitors.” He has a history of conduct that

   shows a lack of impulse control and an inability to abide by probation conditions. And he retained

   the baton he used that day for months afterwards, raising a question as to what other “war cries”

   he might follow in the future.

          5. Conclusion

          As described above, the nature and seriousness of the offense, the weight of the evidence,

   and the Defendant’s history and characteristics, and the risk posed by the Defendant’s release all

   weigh in favor of granting the Government’s motion for pretrial detention. In reaching this

   conclusion, I have considered conditions proposed by the Defendant, which included a

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   combination of personal surety and percentage bonds, co-signed by his parents, and home

   confinement (at his mother’s home) enforced through electronic monitoring. However, for the

   reasons described above, the Defendant’s history undermines my faith that even those conditions

   will be sufficient to assure that the Defendant will not pose a danger to the community. I therefore

   find that the Government has proven, by clear and convincing evidence, that no conditions or

   combination of conditions will reasonably assure the safety of the community.

   D.     DISPOSITION

          Being fully advised, the Court hereby ORDERS that the Defendant, Mason Joel Courson,

   be detained prior to trial and until the conclusion thereof.

          The Court further ORDERS:

          1.      That the Defendant be committed to the custody of the Attorney General for

   confinement in a corrections facility separate, to the extent practicable, from persons awaiting or

   serving sentences or being held in custody pending appeal;

          2.      That the Defendant be afforded reasonable opportunity for private consultation with

   counsel; and

          3.      That, on order of a court of the United States or on request of an attorney for the

   Government, the person in charge of the corrections facility in which the defendant is confined

   deliver the Defendant to a United States marshal for the purpose of an appearance in connection

   with a court proceeding.

          DONE AND ORDERED at Fort Lauderdale, Florida this 23rd day of December 2021.




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